             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CIVIL NO. 1:08CV26-1
                             (1:05CR23-12-T)


JOHNNY SHANE MYERS,                       )
                                          )
                  Petitioner,             )
                                          )
            vs.                           )       JUDGMENT
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
              Respondent.                 )
______________________________            )


     For the reasons set forth in the Memorandum and Order filed

herewith,

     IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

the Petitioner’s motion to vacate, set aside, or correct judgment pursuant to

28 U.S.C. § 2255 is DENIED, and this matter is hereby DISMISSED WITH

PREJUDICE in its entirety.

     Petitioner is hereby placed on notice that no future motion pursuant

to 28 U.S.C. § 2255 may be filed absent permission from the United States

Fourth Circuit Court of Appeals.




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                                 Signed: February 26, 2008




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